        Case 4:20-cv-00244-BSM Document 115 Filed 09/25/20 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

NANCY S. DAVIDSON and                                                       PLAINTIFFS
MICHAEL A. DAVIDSON

v.                            Case No. 4:20-CV-00244-BSM

ETHICON, INC., et al.                                                     DEFENDANTS

                                         ORDER

       This case was transferred from the Southern District of West Virginia, see Doc. No.

105. The local rules of the Eastern District of Arkansas require that summary judgment

motions be submitted with concise statements of material facts. Local Rule 56.1. If a non-

movant opposes summary judgment, it must submit a concise statement of disputed material

facts along with its response brief.

       Defendants are instructed to submit a statement of facts in support of its motion for

partial summary judgment, Doc. No. 68, by October 15, 2020. Plaintiffs are instructed to

submit a statement of disputed material facts, in support of its response, Doc. No. 74, by

October 29, 2020. The clerk is directed to stay the case until October 29, 2020.

       IT IS SO ORDERED this 25th day of September, 2020.


                                                   UNITED STATES DISTRICT JUDGE
